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                      IN THE UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF ARKANSAS
                              FAYETTEVILLE DIVISION


CHRISTOPHER CODY LITTLETON
on behalf of himself and all others similarly situated                            PLAINTIFF

v.                               Case No. 5:14-CV-05007

STATE FARM MUTUAL AUTOMOBILE
INSURANCE COMPANY                                                               DEFENDANT


                         MEMORANDUM OPINION AND ORDER

       On November 12, 2014, the parties appeared before the Court for a hearing on

Defendant State Farm Mutual Automobile Insurance Company’s (“State Farm”) Motion for

Summary Judgment (Doc. 26), and Plaintiff Christopher Cody Littleton’s Motion for Partial

Summary Judgment (Doc. 32) and Motion to Certify Class (Doc. 45).                  The Court

entertained oral argument and DENIED all three Motions from the bench.

       The following Order sets forth the Court’s reasoning in support of its rulings,

beginning with the parties’ cross-motions for summary judgment (Docs. 26, 32), followed

by Plaintiff’s request for class certification (Doc. 45), and concluding with a discussion

regarding the basis for the Court’s continuing jurisdiction over Plaintiff’s individual claims.

To the extent this Order conflicts with statements or rulings issued from the bench, this

Order will control.

                                     I. BACKGROUND

       This class action Complaint was first filed in the Circuit Court of Washington County,

Arkansas, on December 10, 2013. According to the Complaint, Plaintiff Littleton was

injured in a car accident and relied on State Farm, his automobile insurer, to reimburse his
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medical care providers for medical costs incurred, up to the $5,000 med-pay coverage limit

included in Littleton’s policy (“the Policy”). Littleton alleges that State Farm failed to pay

the total billed amounts, and as a result, Littleton still owes money to his medical care

providers even though he did not exhaust his Policy’s coverage limit. Littleton claims that

State Farm paid reduced rates by improperly tapping into so-called “PPO network

reductions,” which, in Littleton’s view, were negotiated by doctors and third-party “repricers”

on behalf of health insurance providers—not on behalf of auto insurance providers like

State Farm.

       Littleton now argues that because State Farm was not entitled to in-network

reductions, he and other similarly-situated insureds of State Farm remain personally liable

to their medical providers for the difference between the bills they actually incurred and the

reduced amounts State Farm paid, even though their insurance coverage limits were not

exhausted. He alleges that in paying reduced rates for medical services, State Farm

breached the terms of the Policy. Littleton also demands declaratory and injunctive relief

regarding State Farm’s practice of improperly tapping into in-network reductions.

       In response, State Farm maintains that it is legally entitled to access in-network

rates in the same manner as health insurance providers. Further, State Farm believes this

practice actually benefits its insureds by lowering their total medical bills and leaving them

with more med-pay dollars available for future medical care. State Farm disputes that

Littleton or any other insured has suffered an injury-in-fact as a result of State Farm’s

practice of accessing in-network reduced rates; indeed, counsel for both parties have

highlighted in their briefing and in response to the Court’s questioning during the November

14th hearing that a material dispute of fact currently exists as to whether Littleton owed

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money to either of his two medical care providers—Washington Regional Medical Center

(“WRMC”) and Blair Masters, a chiropractor—at the time the instant lawsuit was filed.

       Littleton admits he signed agreements authorizing WRMC and Masters to collect

medical payments on his behalf directly from State Farm. After State Farm received

Littleton’s bills, they forwarded them to a “repricing” company known as Mitchell,

International, which in turn reviewed the bills and recommended that State Farm pay

discounted in-network PPO rates for the medical services provided. The basis for State

Farm’s claim to these discounted rates stems from two contracts: first, a contract between

WRMC and USA Managed Care Organization (“USA MCO”); and second, a contract

between Masters and Integrated Health Plan, Inc. (“IHP”). State Farm did not enter into

a contract directly with WRMC or Masters and was not a signatory either to the

WRMC/USA MCO contract or the Masters/IHP contract. Instead, State Farm contracted

with a third party called Cofinity, Inc. (“Cofinity”), which in turn entered into agreements with

USA MCO and IHP on behalf of State Farm.

       It appears that at some point, USA MCO sent letters to its health care provider

partners informing them that State Farm would begin accessing the USA MCO reduced-

rate network ordinarily accessed by health insurance providers. According to the sample

letter provided by State Farm, USA MCO informed its health care providers that they were

to accept State Farm’s “network discount fee [as] payment in full for services rendered.”

(Doc. 26-13). Similarly, IHP sent letters to its health care providers under contract,

informing them that State Farm would be accessing in-network rates. The IHP letter

stated, “[p]lease let your billing staff, or outside billing service know of this relationship.”

(Doc. 26-12).

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       Based on these letters, as well as State Farm’s direct contract with Cofinity, Inc., it

is State Farm’s position that it was entitled to access the reduced-rate network and pay

reduced rates for medical services billed to its insureds, including WRMC and Masters.

State Farm also maintains that WRMC and Masters accepted these discounted rates,

cashed State Farm’s checks, and released all medical liens related to Littleton’s care.

       Littleton counters that Masters does not agree now, nor did he agree at the time the

Complaint was filed, that Littleton’s medical bills were paid in full by State Farm. An

employee of Masters named Carmen Ivy submitted conflicting affidavits on two different

occasions during the course of this lawsuit. (Docs. 26-4, 34-2). On April 14, 2014, after

the lawsuit was filed, she indicated “[t]he amount paid [by State Farm] constitutes payment

in full.” (Doc. 26-4). However, as of May 20, 2014, she reversed her position and stated

in a second affidavit that as of February 26, 2013, prior to the filing of the lawsuit, there

was, in fact, a balance due on the account of $202.50, and Masters’ office “never agreed

to take reductions from any med pay carriers including State Farm.” (Doc. 34-2).

       As for Littleton’s debt to WRMC, State Farm submits the affidavit of WRMC’s

manager of collections, Susan Spaeth, in which she affirms on behalf of WRMC that the

medical lien pertaining to Littleton was released on October 29, 2012, before the Complaint

was filed. Further, Ms. Spaeth agrees in her affidavit that WRMC accepted the reduced

rate on medical bills paid by State Farm, and that Littleton currently owes nothing on his

bill to WRMC. (Doc. 26-3).

       The Court is now faced with the task of ruling on cross-motions for summary

judgment. State Farm’s Motion asserts the following three arguments: (1) the case should

be dismissed because Littleton has suffered no injury-in-fact and therefore lacks standing

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to pursue this action because his medical providers accepted State Farm’s reduced rates

as payment in full; (2) even if it were determined that Littleton owed money to one of his

medical providers, Littleton is not the real party in interest because he “assigned away any

and all rights to payment of med-pay benefits under the Policy to his medical providers”

(Doc. 26, p. 2); and (3) State Farm’s payment of benefits comported with its own Policy and

with Arkansas law, so Littleton’s medical providers are contractually obligated to accept

reduced rates as payment in full.

       Littleton’s Motion for Partial Summary Judgment argues that it was illegal as a

matter of law for State Farm to tap into discounted in-network rates because: (1) State

Farm did not enter into a contract with Littleton’s medical providers for discounted rates,

so there was no “agreement” as to these rates; (2) State Farm failed to provide Littleton

with a subscriber identification card as required by Ark. Code Ann. § 23-63-113(c), which

is a prerequisite for accessing in-network rates; (3) State Farm failed to provide WRMC

and Masters with “annual notice” of access to discounted rates as required of health

insurance providers by Ark. Code Ann. § 23-63-113(b)(2); (4) State Farm failed to obtain

specific authorization to access reduced rates as required by Ark. Code Ann. § 23-63-

113(b)(1); (5) State Farm failed to provide any consideration to the medical providers in

exchange for the benefit of accessing the reduced-rate network; and (6) State Farm failed

to remit timely “full” payment of Littleton’s medical bills within 30 days in compliance with

Ark. Code Ann. § 23-89-208.

       In addition to the cross-motions for summary judgment, the Court must also

consider whether to certify a class of individuals defined as follows:



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       Residents of the State of Arkansas who, during the Class Period of January
       1, 2008, through the date of resolution of this action;

       (a) have, had, or were covered under a contract of automobile insurance (the
       “Policy”) with State Farm that includes or included “med pay” coverage;

       (b) submitted a claim to State Farm for payment of medical bills under the
       Policy’s med-pay coverage;

       (c) had State Farm pay a lesser amount on a billed item than what was
       submitted based on a PPO Discount Rate applied under reason code 340,
       352, 509, 513, 518, 550, 578, 614, 652, 705, 707, 711, 713, 715, 717, 719,
       723, and/or 731; and

       (d) were paid and/or their medical providers were paid by State Farm a total,
       combined amount less than the Policy’s med-pay policy limit.

(Doc. 46, p. 21).

       As the issues to be considered in the context of the cross-motions for summary

judgment will impact class certification, the Court will begin its analysis by determining

whether any of the claims at issue may be disposed of as a matter of law and then move

on to class certification concerns.

          II. CROSS-MOTIONS FOR SUMMARY JUDGMENT (Docs. 26, 32)

                                      A. Legal Standard

       A party moving for summary judgment must establish both the absence of a genuine

dispute of material fact and its entitlement to judgment as a matter of law. See Fed. R. Civ.

P. 56; Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586-87 (1986);

Nat’l Bank of Commerce of El Dorado, Ark. v. Dow Chem. Co., 165 F.3d 602 (8th Cir.

1999). The same standard applies where, as here, the parties file cross-motions for

summary judgment. When there exists no genuine issue as to any material fact, “summary

judgment is a useful tool whereby needless trials may be avoided, and it should not be


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withheld in an appropriate case.” United States v. Porter, 581 F.2d 698, 703 (8th Cir.

1978). Each motion should be reviewed in its own right, however, with each side “entitled

to the benefit of all inferences favorable to them which might reasonably be drawn from the

record.” Wermager v. Cormorant Twp. Bd., 716 F.2d 1211, 1214 (8th Cir. 1983); see also

Canada v. Union Elec. Co., 135 F.3d 1211, 1212-13 (8th Cir. 1998). In order for there to

be a genuine issue of material fact, the non-moving party must produce evidence “such

that a reasonable jury could return a verdict for the nonmoving party.” Allison v. Flexway

Trucking, Inc., 28 F.3d 64, 66 (8th Cir. 1994) (quoting Anderson v. Liberty Lobby, Inc., 477

U.S. 242, 248 (1986)).

                                       B. Discussion

              1. State Farm’s Motion for Summary Judgment (Doc. 26)

       State Farm contends there is no genuine dispute of material fact that both of

Littleton’s medical providers accepted State Farm’s reduced rates as payment in full. The

Court is not persuaded by this argument. Although the evidence is uncontroverted that

WRMC accepted State Farm’s reduced-rate payment on Littleton’s behalf as payment in

full, a genuine, material dispute of fact exists as to whether Masters refused to accept

these reduced rates and now demands payment from Littleton. The affidavits submitted

by Masters’ office assistant, Ivy, confirm this dispute of fact, making summary judgment

in State Farm’s favor inappropriate.

       State Farm argues in the alternative that it should prevail on the merits because

Littleton “assigned” the payment of benefits to Masters, and Littleton therefore no longer

maintains an injury-in-fact. Such an argument, though seemingly persuasive, must be



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disregarded. Littleton did sign a document permitting Masters to bill State Farm directly

for costs associated with medical care; however, this designation of procedure for

collections practices does not equate to a contractual assignment of rights under the

Policy, nor does such an assignment prohibit the medical provider from collecting residual

balances from its patient. Littleton would still remain personally liable for any medical debt

claimed by his medical providers that State Farm refused or otherwise failed to pay.

       State Farm’s final argument is that since its payment of benefits comported with its

own Policy and with Arkansas law, Littleton’s medical providers were contractually

obligated to accept reduced rates as payment in full. The Court finds that there is still a

material dispute of fact as to whether State Farm’s payment of reduced rates can be

considered “reasonable” under the terms of State Farm’s own Policy. To be “reasonable,”

the rates must be agreed-to—either explicitly or constructively—by medical care providers.

In Littleton’s case, although it appears WRMC agreed to State Farm’s payment policy and

found it reasonable, there is a dispute of fact as to Masters’ agreement.

       For all of these reasons, State Farm’s Motion for Summary Judgment (Doc. 26) is

DENIED.

           2. Littleton’s Motion for Partial Summary Judgment (Doc. 32)

       Littleton’s Motion for Partial Summary Judgment is the inverse of State Farm’s.

Littleton asks the Court to rule as a matter of law that State Farm’s payment of reduced

network rates is illegal and violates the express terms of the Policy. State Farm admits it

is not a party to any direct contracts with medical care providers, nor does it have direct

contracts with third parties—such as IHP or USA MCO—who are, in fact, in privity of



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contract with medical care providers. Nonetheless, the Policy also defines the payment

of “reasonable expenses” as “[t]he fees agreed to by both the insured’s healthcare provider

and us . . .” (Doc. 26-2, p. 17). Consequently, even in the absence of a direct contract

between State Farm and medical care providers, State Farm’s payment of reduced rates

could be deemed reasonable if some other means of agreement could be demonstrated.

In this case, it is at least arguable that WRMC and State Farm came to a constructive

agreement to accept reduced rates, as evidenced by WRMC’s actual acceptance of

payment from State Farm, followed by WRMC’s release of Littleton’s medical lien and its

affirmation that no further debt was owed. WRMC’s example is evidence that State Farm’s

policy may be “reasonable” by the Policy’s terms. The Court, therefore, is not able to state

as a matter of law that State Farm’s practice of paying reduced rates necessarily breaches

the terms of the Policy.

       Littleton’s next argument is that in order to take advantage of in-network rates

normally accessed by health insurers, State Farm would have been required to comply with

Ark. Code Ann. § 23-63-113(c) and provide Littleton and other similarly-situated insureds

with “subscriber identification cards.” The Court observes that this contention, even if true,

does not dispose of any issues of damages or liability in the case at bar. Further, it is not

at all clear to the Court that State Farm was required to comply with this statutory provision

of Arkansas law in the first place, and neither party cites to case law to support its

particular interpretation of the statute. The Court is not convinced that Littleton would be

entitled to bring a private right of action to enforce compliance with the statute, even if

State Farm were obligated to comply. As this issue of statutory interpretation does not



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appear to be a proper basis for granting summary judgment as to any of Littleton’s claims,

the Court will not rule on it at this time.

       The same reasoning articulated above applies to Littleton’s request that the Court

rule as a matter of law that State Farm failed to comply with Ark. Code Ann. § 23-63-

113(b)(1)-(2), which requires health insurers to provide medical care providers with “annual

notice” of access to discounted rates and specific authorization to access these rates.

Deciding whether either of these statutes affects State Farm, an auto insurance carrier,

does not impact any ultimate issue of liability or damages in the case. In addition, whether

State Farm was required to provide such notice or authorization to health care providers

pertains to WRMC and Masters’ rights and interests—not Littleton’s rights and interests.

       Turning to Littleton’s argument that State Farm failed to provide any consideration

to his medical providers in exchange for the benefit of accessing the reduced-rate network,

this argument again appears to have been made in furtherance of the medical providers’

rights and interests, rather than Littleton’s. The Court will, therefore, not rule on this issue

on summary judgment.

       Finally, Littleton contends that State Farm failed to remit timely payment within 30

days, as required by Ark. Code Ann. § 23-89-208. The crux of this argument is Littleton’s

view that “timely payment” cannot be one that relies on in-network reduced rates. As

discussed in detail above, there remains a genuine dispute of material fact as to whether

Littleton’s medical providers explicitly or constructively agreed to State Farm’s payment of

reduced rates. If there was agreement, then payment by State Farm was also timely

according to the statute.



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       For all of these reasons, Littleton’s Motion for Partial Summary Judgment (Doc. 32)

is DENIED.

                       III. MOTION TO CERTIFY CLASS (Doc. 45)

                                    A. Legal Standard

       Pursuant to Federal Rule of Civil Procedure 23, certifying a class action requires a

two-step analysis. First, a class action may be maintained if (1) the class is so numerous

that joinder of all members is impracticable; (2) there are questions of law or fact common

to the class; (3) the claims or defenses of the representative parties are typical of the

claims or defenses of the class; and (4) the representative parties will fairly and adequately

protect the interests of the class. Fed. R. Civ. P. 23(a)(1)-(4). Second, a class action will

be deemed appropriate if a court finds that questions of law or fact common to class

members predominate over questions affecting only individual members, and that a class

action is superior to other available methods for fairly and efficiently adjudicating the

controversy. Fed. R. Civ. P. 23(b)(3).

       A recognized prerequisite to the class certification inquiry involves a court’s

assessment as to the ascertainability of the class. The requirement of ascertainability

simply means that the description of a proposed class must be sufficiently definite “so that

it is administratively feasible for the court to determine whether a particular individual is a

member.” 7A Charles Alan Wright et al., Federal Practice and Procedure § 1760 (3d ed.

2005). “The requirement that a class be clearly defined is designed primarily to help the

trial court manage the class. It is not designed to be a particularly stringent test, but

plaintiffs must at least be able to establish that the general outlines of the membership of



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the class are determinable at the outset of the litigation.” Bynum v. District of Columbia,

214 F.R.D. 27, 31 (D.D.C. 2003).

       The district court retains “broad discretion in determining whether to certify a class,

recognizing the essentially factual basis of the certification inquiry and . . . the district

court’s inherent power to manage and control pending litigation.” In re Zurn Pex Plumbing

Prods. Liab. Litig., 644 F.3d 604, 616 (8th Cir. 2011) (internal quotations and citations

omitted).

                                       B. Discussion

                                     1. Ascertainability

       The Court finds that the composition of the class is not readily ascertainable through

an objective search of State Farm’s records. It is impossible to assume that because an

insured (1) received a bill for medical services and (2) State Farm paid a discounted

amount on the bill after applying a reduced rate, the insured necessarily suffered an injury.

In Littleton’s case, the WRMC bill is illustrative of this point: WRMC billed State Farm for

Littleton’s medical care, State Farm issued payment at a discounted rate, and WRMC

affirmed that Littleton owes nothing on the bill.

       Viewing the evidence regarding Masters’ bill in the light most favorable to

Littleton—as the Court must do at this stage of the litigation in light of the genuine, material

disputes of fact at issue—reveals that Masters may have left “on the books” the difference

between what he billed State Farm and what State Farm actually paid. Masters made no

attempt to collect this amount from Littleton prior to the filing of the Complaint, and at some

point during the litigation, Masters’ assistant affirmed that the full amount was considered



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paid. Masters’ position on the issue changed after this, and now he maintains that Littleton

owes a debt. Determining whether each of the potentially thousands of insureds in the

putative class has an injury-in-fact will necessitate individualized inquiry and make the

ascertainability of the class excessively burdensome and time-consuming.

       Although Littleton attempts to argue that “[t]he injury is the violation of the contract,

not the deprivation of a monetary benefit that may have accompanied the contract,” (Doc.

54, p. 26), the Court finds this proposition unavailing, particularly as it impacts issues of

standing. The case cited by Littleton in support of his position is inapposite, as it involves

the peculiar standing of a trade union to negotiate for contract benefits on behalf of union

members. See, e.g., United Steel, Paper and Forestry, Rubber, Mfg., Energy, Allied Indus

& Serv. Workers Int’l Union, AFL-CIO/CLC v. Cookson Am, Inc., 710 F.3d 470, 474-75 (2d

Cir. 2013). According to this case, a union has standing to bring a breach of contract

action even if the union doesn’t specifically “benefit” from the contract or suffer damages

flowing from the contract’s breach. Id. The peculiar status of unions is not analogous to

the relationships at issue in the case at bar. Here, Littleton argues that an individual

insured should have standing to assert a claim for a technical breach-of-contract violation

even if the insured has not suffered actual damage. The Court finds this argument directly

contrary to basic principles of contract law. Rabalaias v. Barnett, 284 Ark. 527, 528-29

(1985) (elements of breach of contract claim under Arkansas law are (1) the existence of

a valid and enforceable contract, (2) an obligation on the part of the defendant, (3) a

breach of that obligation, and (4) damages resulting from the breach); Dawson v. Temps

Plus, Inc., 337 Ark. 247, 258 (1999) (“In general, damages recoverable for breach of



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contract are those damages which would place the injured party in the same position as

if the contract had not been breached.”).

       As for Littleton’s claim for declaratory judgment/injunctive relief, the hotly-contested

disputes involving Masters, State Farm, and Littleton are emblematic of the fact-intensive

inquiry that will be needed in order to ascertain whether State Farm’s practice of paying

reduced rates harms or benefits insureds. There is a related dispute as to whether the

practice either has been constructively agreed-to by medical care providers and is thus

“reasonable” under the Policy or has not been agreed-to.

       For these reasons, the lack of ascertainability of the class weighs against

certification.

                                      2. Numerosity

       Factual disputes as to standing and ascertainability of the class call into question

the class’s numerosity. However, even if the Court assumes the class is sufficiently

numerous, this factor is not dispositive of the certification question.

                                     3. Commonality

       This requirement asks whether there are questions of fact and law that are common

to all members of the proposed class. As previously discussed, it appears State Farm

routinely engages in the practice of accessing reduced-rate networks indirectly in order to

pay claims for medical care. There yet remain fact-intensive, individualized questions as

to whether each putative class members was damaged as a result of this practice. The

medical providers of each insured would potentially need to be involved in the lawsuit in

some capacity to affirm whether or not reduced rates were, in fact, accepted with no further



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amounts due and owing, or accepted with amounts still considered “owed” by each

insured.

       Despite State Farm’s use of a uniform policy as to its insureds’ reimbursement of

med-pay benefits at reduced rates, the questions of fact that remain with regard to

standing, injury-in-fact, and whether the putative class’s medical care providers agreed to

accept reduced rates are all key issues of commonality that weigh against certification.

                                         4. Typicality

       This requirement asks whether the named plaintiff’s claim is “typical” of those of the

rest of the class members. As discussed previously, although the putative class will share

with Littleton the fact that their claims were paid at reduced rates by State Farm, Littleton’s

standing to assert a claim for breach of contract or for declaratory/injunctive relief is

questionable, although sufficient at this stage so as to survive summary judgment. It is

unclear whether any members of the putative class will be found to owe debts to their

medical providers, or whether, like Littleton, these issues will be contested.

       The Court therefore finds that the typicality of Littleton’s claim weighs against

certification.

            5. Adequacy of Representative Plaintiff and Plaintiff’s Counsel

       Even assuming that Littleton and his counsel will fairly and adequately protect the

interests of the class, this factor is insufficient to constitute a basis for certifying the class,

particularly in light of the problems of ascertainability, commonality, and typicality.




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                                     6. Predominance

       As explained above, the Court finds that individual issues predominate over class

issues. Individualized inquiry will be needed to determine whether each class member

either received a benefit by virtue of State Farm’s practice of paying reduced, in-network

rates, or incurred a detriment and now owes money to one or more medical providers.

This factor weighs against certification.

                                       7. Superiority

       The last factor to consider is whether a class action is a superior means of resolving

this dispute than other litigation methods. According to the Supreme Court, the “principal

purpose” of a class action is to advance “the efficiency and economy of litigation.” Am.

Pipe & Const. Co. v. Utah, 414 U.S. 538, 553 (1974). In this regard, Rule 23 class actions

can be viewed as having been created as a management tool to make litigation easier, not

more complicated. If the Court were to certify the proposed class of thousands of insureds,

the complexities that would result from class certification would outweigh any benefits

derived from class treatment. Certifying a class would invite individualized inquiry into each

insured’s standing to sue and would involve the active participation of multiple third-party

health care providers at all phases of litigation. The fundamental question of whether a

class member has suffered a benefit or a detriment as a result of the policy at issue would

be litigated on an individualized basis. Therefore, the superiority of individual litigation

weighs against certification, at least as it concerns a putative class of insureds. A

challenge made to State Farm’s policy by medical providers who received reduced




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payments could potentially justify a class action; however, that particular lawsuit is not

before this Court.

       After weighing all seven relevant factors, the Court in its discretion finds that

Plaintiff’s Motion to Certify Class (Doc. 45) is DENIED.

            IV. JURISDICTION OVER LITTLETON’S INDIVIDUAL CLAIMS

       The basis for jurisdiction in this case was made pursuant to the Class Action

Fairness Act (CAFA), 28 U.S.C. § 1332(d), which provides that “[t]he district courts shall

have the original jurisdiction of any civil action in which the matter in controversy exceeds

the sum or value of $5,000,000, exclusive of interest and costs, and is a class action in

which – (A) any member of a class of plaintiffs is a citizen of a State different from any

defendant . . .” § 1332(d)(2).

       The Eighth Circuit has definitively ruled that CAFA jurisdiction "continue[s] despite

the district court's denial of Plaintiffs' motion for class certification." Buetow v. A.L.S.

Enters., Inc., 650 F.3d 1178, 1182 n.2 (8th Cir. 2011); see also United Steel v. Shell Oil

Co., 602 F.3d 1087, 1089 (9th Cir. 2010); Cunningham Charter Corp. v. Learjet, Inc., 592

F.3d 805, 806-07 (7th Cir. 2010); Vega v. T-Mobile USA, Inc., 564 F.3d 1256, 1268 n.12

(11th Cir. 2009). The Court will therefore enter an amended scheduling order setting a

new trial date and related deadlines pertaining to Littleton’s individual claims.

                                    V. CONCLUSION

       IT IS ORDERED that Defendant State Farm’s Motion for Summary Judgment (Doc.

26) is DENIED.




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